Case 6:24-bk-11145-RB   Doc 18 Filed 05/14/24 Entered 05/14/24 11:38:14   Desc
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         Case 6:24-bk-11145-RB                     Doc 18 Filed 05/14/24 Entered 05/14/24 11:38:14                                     Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3801 University Avenue, Suite 720,
Riverside, CA 92501

A true and correct copy of the foregoing document entitled (specify): Stipulation Resolving Motion for Order Compelling
Attorney to File Disclosure of Compensation Pursuant to 11 U.S.C. § 329 and Federal Rule of Bankruptcy Procedure 2016
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) May 14,
2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Attached Electronic Mail Notice List.
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) May 14, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

Debtor
Shahen Mailyan
260 South Fairway Dr
Lake Arrowhead, CA 92352

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 14, 2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
mail to, the judge will be completed no later than 24 hours after the document is filed.

(Overnight Mail)
Judge’s Copy
Honorable Magdalena Reyes Bordeaux
United States Bankruptcy Court
3420 Twelfth Street, Suite 365 / Courtroom 303
Riverside, CA 92501-3819

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 14, 2024            Adela Salgado                                                          /s/ Adela Salgado
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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